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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-01037-CMA-NRN

  ERIC PICKERSGILL,

  Plaintiff,

  v.

  THE EGOTIST, LLC dba THE DENVER EGOTIST,

  Defendant.

               ORDER SETTING SCHEDULING/PLANNING CONFERENCE

  Entered by U.S. Magistrate Judge N. Reid Neureiter

        The above-captioned case has been referred to Magistrate Judge N. Reid
  Neureiter pursuant to the Order Referring Case, entered by Judge Christine M. Arguello
  on May 2, 2022 (Dkt. #7).

          IT IS HEREBY ORDERED that Plaintiff shall promptly serve Defendant.

        IT IS FURTHER ORDERED that a Scheduling/Planning Conference pursuant to
  Fed. R. Civ. P. 16(b) shall be held on:


                                July 21, 2022 at 11:00 a.m.
                                   in Courtroom C-203,
                                       Second Floor,
                            Byron G. Rogers U.S. Courthouse,
                                     1929 Stout Street,
                                 Denver, Colorado 80294


         The Scheduling Conference will be conducted via telephone. The parties
  are directed to call the conference line as a participant at (888) 398-2342, Access
  Code 5755390# at the scheduled time.

         If this date is not convenient for any counsel/pro se party, he/she should confer
  with opposing counsel/pro se party and file a motion to reschedule the conference to a
  more convenient date. Absent exceptional circumstances, no request for rescheduling
  any appearance in this court will be entertained unless a motion is filed no less than
  FIVE (5) business days in advance of the date of appearance.
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         IT IS FURTHER ORDERED that Plaintiff shall notify Defendants of the date and
  time of the Scheduling/Planning Conference.

          IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a
  pre-scheduling conference meeting and prepare a proposed Scheduling Order in
  accordance with Fed. R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and 26.1(a) on or
  before 21 days prior to scheduling conference. Pursuant to Fed. R. Civ. P. 26(d) no
  discovery shall be sought until after the pre-scheduling conference meeting. No later
  than five (5) business days prior to the Scheduling/Planning Conference, counsel/pro se
  parties shall file their proposed Scheduling Order (in PDF) in compliance with the ECF
  Filing Procedures, and email a copy of the proposed Scheduling Order (as a Microsoft
  Word document) to Neureiter_Chambers@cod.uscourts.gov. In addition, on or before
  fourteen (14) days after the pre-scheduling conference meeting, the parties shall
  comply with the mandatory disclosure requirements of Fed. R. Civ. P. 26(a)(1).

         Counsel/pro se parties shall prepare the proposed Scheduling Order as provided
  in D.C.COLO.LCivR 16.1 in accordance with the form and instructions which may be
  found through the links in D.C.COLO.LCivR 16.2 and 26.1(a). Parties who are
  unrepresented and do not have access to the internet may visit the Clerk’s Office in
  Alfred A. Arraj U.S. Courthouse, 901 19th Street, Room A-105, Denver, Colorado.
  (The Clerk’s Office telephone number is (303) 844-3433.) Scheduling Orders prepared
  by parties not represented by counsel, or without access to ECF, shall be submitted on
  paper.

       All out-of-state counsel shall comply with D.C.COLO.LAttyR 3(a) prior to the
  Scheduling/Planning Conference.

         It is the responsibility of counsel to notice the court of their entry of appearance,
  notice of withdrawal, or notice of change of counsel’s address, e-mail address, or
  telephone number by complying with the ECF Procedures and filing the appropriate
  motion or document with the court.

          Please remember that everyone seeking entry into the Byron G. Rogers United
  States Courthouse will be required to show valid photo identification and be subject to
  security procedures. See D.C.COLO.LCivR 83.2. Failure to comply with the
  identification requirement and security procedures will result in denial of entry into the
  Byron G. Rogers United States Courthouse.

                DONE AND SIGNED THIS 2nd DAY OF MAY, 2022.

                                             BY THE COURT:

                                             s/N. Reid Neureiter
                                             N REID NEUREITER
                                             United States Magistrate Judge
